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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
SECURITIES AND EXCHANGE COMMISSION,
Plaintiff,
v.

§
§
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§
§
STANFORD INTERNATIONAL BANK, LTD., §
STANFORD GROUP COMPANY, STANFORD §
CAPITAL MANAGEMENT, LLC. R. ALLEN §
STANFORD, JAMES M. DAVIS, LAURA §
Fae ee ERT, LOPEZ, § Cause No. 3:09-CV-0298-N
3 5 §
Defendants, :

§
and §
STANFORD FINANCIAL GROUP COMPANY, :

§
§
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§
§

THE STANFORD FINANCIAL GROUP BLDG,
INC.,

Relief Defendants.

[PROPOSED] ORDER
Before the Court is BDO USA, LLP’s Motion to Quash Subpoena or, in the alternative,

Motion to Modify Subpoena, filed April 14, 2011. BDO moves the Court to quash a subpoena
issued by the Receiver on March 1, 2011 (the “Subpoena”). After careful consideration of
BDO’s Motion, the Receiver’s Response, BDO’s Reply and the supporting Briefs and documents
filed with the Court, and the oral argument of counsel at a hearing, the Court finds the Motion to
Quash should be and hereby is GRANTED. Accordingly, the Subpoena is QUASHED in its
entirety.

IT IS SO ORDERED.

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Signed this day of April, 2011.

 

HONORABLE DAVID C. GODBEY

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